                   EXHIBIT A




DOCS_DE:232210.1
                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11
REVSTONE INDUSTRIES, LLC, et al.,1                                   Case No. 12-13262 (BLS)
                             Reorganized Debtors.                    Jointly Administered

FRED C. CARUSO, solely in his capacity as                            Adv. No. 14-50031 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
ASCALON ENTERPRISES, et al.,
                             Defendants.



FRED C. CARUSO, solely in his capacity as                            Adv. No. 14-50033 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
GEORGE S. HOFMEISTER, et al.,
                             Defendants.

FRED C. CARUSO, solely in his capacity as                            Adv. No. 14-50986 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
         v.
HOMER W. MCCLARTY, et al.,
                             Defendants.

                                                                     Adv. No. 14-50983 (BLS)


1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification numbers
are: Revstone Industries, LLC (7222); Spara, LLC (6613); Greenwood Forgings, LLC (9285); and US Tool &
Engineering, LLC (6450). The location of the Debtors’ headquarters and the service address for each Debtor is:
Revstone Industries, LLC, et al., c/o Huron Consulting Group Inc., PO Box 1720, Birmingham, MI 48012, Attn: John
C. DiDonato, Chief Restructuring Officer.



DOCS_DE:231021.4 73864/029
FRED C. CARUSO, solely in his capacity as
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
DONALD B. LIFTON, et al,,

                             Defendants.



FRED C. CARUSO, solely in his capacity as                            Adv. No. 14-50985 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
REVSTONE CHINA BVI HOLDING, LTD., et al.,

                             Defendants.


In re:                                                               Chapter 11
TPOP, LLC,2                                                          Case No. 13-11831 (BLS)
                             Debtor.

TPOP, LLC,                                                           Adv. No. 14-50032 (BLS)
                             Plaintiff,
        v.
JPMORGAN CHASE BANK, N.A., et al.,
                             Defendants.

         STIPULATION FOR JUDGMENT AGAINST GEORGE S. HOFMEISTER




2
  The Debtor in this chapter 11 case is TPOP, LLC f/k/a Metavation, LLC, and the last four digits of its federal tax
identification number are 5884. The location of the Debtor’s headquarters and the Debtor’s service address is TPOP,
LLC, c/o Huron Consulting Group Inc., 900 Wilshire Drive, Suite 270, Troy, MI 48084, Attn: John C. DiDonato,
Chief Restructuring Officer.


                                                       -2-
DOCS_DE:231021.4 73864/029
        IT IS HEREBY STIPULATED by and between the Revstone/Spara Litigation Trust (the

·'Litigation Trust"); (b) TPOP, LLC ("TPOP", together with the Litigation Trust, the "Plaintiffs");

and (c) George S. Hofmeister ("Hofmeister'·, collectively the "Parties"), as follows:

                 1.          The Parties have reached a settlement evidenced by the Settlement

Agreement (the "Settlement Agreement") pursuant to which the Parties have agreed that judgment

in the form attached hereto (the "Judgment") be entered in each of the above-captioned adversary

proceedings (the "Adversary Proceedings") against Hofmeister and in favor of Plaintiffs, in the

total principal amount of $5,000,000.00 ("Principal Amount") with respect to each Claim for

Relief set forth in the complaints filed in each of the Adversary Proceedings.

                 2.          The Parties have agreed that post-judgment interest on the Principal

Amount shall accrue and be payable by Hofmeister to Plaintiffs, at the prevailing federal rate

pursuant to 28 U.S.C. § 1961 from the date of entry of the Judgment to the date the Principal

Amount is paid in full.

                 3.          Hofmeister has consented to entry of the Judgment by the Court and has

waived all rights to appeal or otherwise challenge entry of the Judgment.

                 4.          Upon entry of the Judgment, the Adversary Proceedings shall be dismissed

with prejudice as to the each of the remaining defendants other than Hofmeister.

ACCEPTED AND AGREED TO BY:

 Dated: December 11, 2020                                    Dated: December       , 2020

                                                             Revstone/Spara Litigation Trust



                                                             Fred C. Caruso of Development
                                                             Specialists, Inc., in his capacity as the
                                                             Revstone/Spara Litigation Trustee


                                                    -3-
DOCS_DE:231021.4 73864/029
        IT IS HEREBY STIPULATED by and between the Revstone/Spara Litigation Trust (the

"Litigation Trust"); (b) TPOP, LLC ("TPOP", together with the Litigation Trust, the "Plaintiffs");

and (c) George S. Hofmeister ("Hofmeister", collectively the "Parties"), as follows:

                 1.          The Parties have reached a settlement evidenced by the Settlement

Agreement (the "Settlement Agreement") pursuant to which the Parties have agreed that judgment

in the form attached hereto (the "Judgment") be entered in each of the above-captioned adversary

proceedings (the "Adversary Proceedings") against Hofmeister and in favor of Plaintiffs, in the

total principal amount of $5,000,000.00 ("Principal Amount") with respect to each Claim for

Relief set forth in the complaints filed in each of the Adversary Proceedings.

                 2.          The Parties have agreed that post-judgment interest on the Principal

Amount shall accrue and be payable by Hofmeister to Plaintiffs, at the prevailing federal rate

pursuant to 28 U.S.C. § 1961 from the date of entry of the Judgment to the date the Principal

Amount is paid in full.

                 3.          Hofmeister has consented to entry of the Judgment by the Court and has

waived all rights to appeal or otherwise challenge entry of the Judgment.

                 4.          Upon entry of the Judgment, the Adversary Proceedings shall be dismissed

with prejudice as to the each of the remaining defendants other than Hofmeister.

ACCEPTED AND AGREED TO BY:

 Dated: December_, 2020                                      Dated: December     "1, 2020
 TPOP,LLC                                                    Revstone/Spara Litigation Trust



 John C. Didonato                                            Fred C. Caruso of Development
 President                                                   Specialists, Inc., in his capacity as the
                                                             Revstone/Spara Litigation Trustee


                                                    -3-
DOCS_DE:231021.4 73864/029
    Dated: December 11, 2020



           �-------
   Georg/k.



    APPROVED AS TO FORM:

    Dated: December_, 2020     PACHULSKI STANG ZIEHL & JONES LLP


                               By: --------------­
                                    Laura Davis Jones (Bar No. 2436)
                                    Alan J. Kornfeld (CA Bar No. 130063)
                                    Colin R. Robinson (Bar No. 5524)

                               Counsel for Plaintiffs


    APPROVED AS TO FORM:

    Dated: December_, 2020     LAW OFFICE OF SHELDON S. TOLL PLLC


                               By:   ----------------
                                      Sheldon S. Toll

                               Counsel for Defendants




                                         -4-
DOC _DE 231021.4 73864/029
Dated: December _, 2020




George S. Hofmeister



APPROVED AS TO

FORM: Dated: December 11,    PACHULSKI STANG ZIEHL & JONES LLP

2020
                                       CL�    (c LA-__
                             By: ---------------­
                                  Laura Davis Jones (Bar No. 2436)
                                  Alan J. Kornfeld (CA Bar No. 130063)
                                  Colin R. Robinson (Bar No. 5524)

                             Counsel for Plaintiffs


APPROVED AS TO FORM:

Dated: December _, 2020      LAW OFFICE OF SHELDON S. TOLL PLLC


                             By: --------------­
                                  Sheldon S. Toll

                             Counsel for Defendants




                                        -4-
DOCS_DE:231021.4 73864/029
Dated: December __, 2020




George S. Hofmeister



APPROVED AS TO FORM:

Dated: December ___, 2020    PACHULSKI STANG ZIEHL & JONES LLP


                             By:
                                    Laura Davis Jones (Bar No. 2436)
                                    Alan J. Kornfeld (CA Bar No. 130063)
                                    Colin R. Robinson (Bar No. 5524)

                             Counsel for Plaintiffs


APPROVED AS TO FORM:

                 11 2020
Dated: December ___,         LAW OFFICE OF SHELDON S. TOLL PLLC


                             By:
                                    Sheldon S. Toll

                             Counsel for Defendants




                                        -4-
DOCS_DE:231021.4 73864/029
STIPULATED JUDGMENT
FRED C. CARUSO, solely in his capacity as                            Adv. No. 14-50985 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
       v.
REVSTONE CHINA BVI HOLDING, LTD., et al.,

                             Defendants.



FRED C. CARUSO, solely in his capacity as                            Adv. No. 14-50986 (BLS)
the Revstone/Spara Litigation Trustee for the
Revstone/Spara Litigation Trust,
                     Plaintiff,
        v.
HOMER W. MCCLARTY, et al.,
                             Defendants.
In re:                                                               Chapter 11
TPOP, LLC,4                                                          Case No. 13-11831 (BLS)
                             Debtor.

TPOP, LLC,                                                           Adv. No. 14-50032 (BLS)
                             Plaintiff,
        v.
JPMORGAN CHASE BANK, N.A., et al.,
                             Defendants.

              STIPULATED JUDGMENT AGAINST GEORGE S. HOFMEISTER

        Upon consideration of the Stipulation for Judgment Against George S. Hofmeister entered

into between (a) the Revstone/Spara Litigation Trust (the “Litigation Trust”), (b) TPOP, LLC




4
  The Debtor in this chapter 11 case is TPOP, LLC f/k/a Metavation, LLC, and the last four digits of its federal tax
identification number are 5884. The location of the Debtor’s headquarters and the Debtor’s service address is TPOP,
LLC, c/o Huron Consulting Group Inc., 900 Wilshire Drive, Suite 270, Troy, MI 48084, Attn: John C. DiDonato,
Chief Restructuring Officer.


                                                       -2-
DOCS_DE:231021.4 73864/029
(“TPOP”, together with the Litigation Trust, the “Plaintiffs”), and (c) George S. Hofmeister

(“Hofmeister”), and good cause appearing therefor,

        IT IS HEREBY ORDERED AND ADJUDGED THAT:

        1. Judgment is entered against Hofmeister, and in favor of the Plaintiffs, in the total

             principal amount of $5,000,000.00 (the “Principal Amount”) in each of the above-

             captioned adversary proceedings (the “Adversary Proceedings”) and with respect to

             each Claim for Relief set forth in the complaints filed in each of the Adversary

             Proceedings.

        2. Post-judgment interest on the Principal Amount shall accrue and be payable by

             Hofmeister to the Plaintiffs, at the prevailing federal rate pursuant to 28 U.S.C. § 1961,

             from the date of entry of this Judgment to the date the Principal Amount is paid in full.

        3. Hofmeister has consented to entry of this Judgment by the Court and has waived all

             rights to appeal or otherwise challenge entry of this Judgment.

        4. The Court retains jurisdiction to hear and determine all matters arising from or related

             to this Judgment.




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